Case 18-21445-JAD      Doc 55     Filed 05/23/19 Entered 05/23/19 13:53:43     Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   In re:
   Otis Mills, Jr.                           :     Case No.18-21445JAD
                                             :     Chapter 13
               Debtor(s)                     :
   Ronda J. Winnecour, Trustee               :
                                             :     Related to Document #
                 Movant(s)                   :
                                             :     Hearing Date
                  vs.                        :
   Otis Mills, Jr.                           :
                  Respondent(s)

        CHAPTER 13 TRUSTEE’S MOTION TO CONVERT CHAPTER 13 CASE TO
                              CHAPTER 7 CASE

          Ronda J. Winnecour, Chapter 13 Trustee, by her undersigned counsel,

   respectfully represents the following:

   1.     This case was filed on April 13, 2018.

   2.     Ronda J. Winnecour is the Chapter 13 Standing Trustee in this case.

   3.     Thirteen (13) months have elapsed in this case.

   4.     The Meeting of Creditors was held on July 30, 2018 but continued to

   October 18, 2018.

   5.     A contested hearing was held on November 28, 2018, and an Order was

   entered ordering the Debtor to remit a payment to the Chapter 13 Trustee in the

   amount of $11,000.00 no later than December 12, 2018. It further ordered the

   Debtor to submit all of his outstanding state and federal tax returns to the Trustee.

   6.     The Order provided that “[s]hould the Debtor fail to timely comply with the

   terms of this Order, the Court shall consider whether further relief is warranted.

   Such further relief considered is dismissal of this bankruptcy case with prejudice

   or conversion of the case to a chapter 7 liquidation.”
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   7.    The Trustee has not received the $11,000.00 payment or the Debtor’s tax

   returns.

   8.    The Debtor has not made single plan payment and is in arrears in the

   amount of $32,500.00.

   9.    Therefore, the Trustee requests that the case be converted to a chapter 7

   liquidation case.

         WHEREFORE, the Trustee respectfully requests that the above captioned

   case be converted to a chapter 7 bankruptcy case.



                                     RONDA J. WINNECOUR,
                                     CHAPTER 13 TRUSTEE



   Date: 05/23/19               by   __/s/ Jana S. Pail_____________
                                     Jana S. Pail - PA I.D. #88910
                                     Attorney for Trustee
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                                     600 Grant St.
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                  vs.                        :
   Otis Mills, Jr.                           :
                  Respondent(s)

                                CERTIFICATE OF SERVICE
          I hereby certify that on the 23rd of May 2019, I served one true and correct
   copy of the foregoing document, along with Notice of Hearing with Response
   Deadline on the following parties in interest by United States first-class mail,
   postage prepaid, addressed as follows:

   Joseph S. Sisca, Esquire
   Assistant U.S. Trustee
   Suite 970, Liberty Center
   1001 Liberty Avenue
   Pittsburgh PA. 15222

   Otis Mills, Jr.
   2361 Haymaker Road
   Monroeville PA 15146

   Michael S. Geisler, Esquire
   201 Penn Center Blvd Suite 524
   Pittsburgh PA 15235




                                                   _/s/Dianne DeFoor_______
                                                   Office of Chapter 13 Trustee
                                                   US Steel Tower – Suite 3250
                                                   600 Grant Street
                                                   Pittsburgh, PA 15219
                                                   (412) 471-5566
                                                   cmecf@chapter13trusteewdpa.com
